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                                                                          FILED: April 1, 2013

                                UNITED STATES COURT OF APPEALS
                                    FOR THE FOURTH CIRCUIT

                                          ___________________

                                               No. 12-2152
                                          (8:11-cv-01457-RWT)
                                          ___________________

        JOHN B. KIMBLE

                        Plaintiff - Appellant

        v.

        M.D. RAJESH K. RAJPAL; SEE CLEARLY VISION LLC

                        Defendants - Appellees

                                          ___________________

                                               ORDER
                                          ___________________

                  The court denies the petition for rehearing.

                  Entered at the direction of the panel: Judge Duncan, Judge Thacker and

        Senior Judge Hamilton.

                                                   For the Court

                                                   /s/ Patricia S. Connor, Clerk
